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           Page 1 of 5   Filed 08/05/21   Document 1    Case 3:21-cv-01152-MO
                                                                                       ;>
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    _,,l!l /JiB) 1MI !}{If JIYlf/!J (2L Jj;)J:JoJ l-fl:l E9 {Yl';J s:e,f
· -tjJ!ill zl10ily(YJ:x>J//I 3llL ~otb1 .3f1J,, ('II Jl'fl5;;iffl fl         YI
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      Jill-L AW:1 hfil5('Jl}W             (/BilJi;N-GHOVB)q   '5.-Vfl IDNS   ,1
           Page 2 of 5   Filed 08/05/21    Document 1   Case 3:21-cv-01152-MO
Case 3:21-cv-01152-MO   Document 1   Filed 08/05/21   Page 3 of 5




JI WJM~       QL.   '.5'@J1111J --fl/.AQJi:9 rvl ()sEr.J(JVtf
      Case 3:21-cv-01152-MO       Document 1   Filed 08/05/21   Page 4 of 5




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a VIL lL 6m uw w ctj 5(,{AtL ,M M l!f'1 , 11-teJ)t &fflJtrJJ ~
